        Case 21-10283-JCM                       Doc 41        Filed 06/05/24 Entered 06/05/24 11:13:50                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 4
     Debtor 1              IVELIS TORRES


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          21-10283JCM




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 QUICKEN LOANS LLC                                                                 6

 Last 4 digits of any number you use to identify the debtor's account                         2   6   7   0

 Property Address:                             1553 W 32ND ST
                                               ERIE PA 16508




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $         148.26

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $         148.26

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $         148.26



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $765.71
         The next postpetition payment is due on                 8 / 1 / 2024
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     IVELIS TORRES                                                    Case number (if known) 21-10283JCM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     06/05/2024


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     IVELIS TORRES                                              Case number (if known) 21-10283JCM
             Name




                                              Disbursement History

Date         Check #    Name                                  Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
06/27/2022 1238297      QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         38.50
07/26/2022 1241235      QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                        109.76
                                                                                                                   148.26

MORTGAGE REGULAR PAYMENT (Part 3)
07/26/2021   1204842    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                       1,230.87
08/26/2021   1207994    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         854.80
09/24/2021   1211099    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         854.80
10/25/2021   1214173    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         838.40
11/22/2021   1217206    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         839.16
12/23/2021   1220288    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         839.56
01/26/2022   1223348    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         839.77
02/23/2022   1226214    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         839.89
03/25/2022   1229192    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         839.95
04/26/2022   1232231    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         839.99
05/25/2022   1235273    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         840.04
06/27/2022   1238297    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         809.79
07/26/2022   1241235    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         750.16
08/24/2022   1244117    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         750.16
09/27/2022   1247001    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         750.16
10/25/2022   1249800    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         750.16
11/23/2022   1252592    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         764.06
12/22/2022   1255333    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         764.06
01/26/2023   1258064    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         764.06
02/23/2023   1260658    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         764.06
03/28/2023   1263442    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         764.06
04/25/2023   1266256    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         764.06
05/25/2023   1269125    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         764.06
06/26/2023   1272013    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         764.06
07/25/2023   1274755    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         764.06
08/25/2023   1277547    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         764.06
09/26/2023   1280271    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         764.06
10/25/2023   1282979    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         764.06
11/27/2023   1285654    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         765.71
12/21/2023   1288228    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         765.71
01/26/2024   1290930    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         765.71
02/26/2024   1293572    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         765.71
03/26/2024   1296227    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         765.71
04/25/2024   1298891    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                         765.71
05/29/2024   1301595    QUICKEN LOANS LLC                     AMOUNTS DISBURSED TO CREDITOR                       1,531.42
                                                                                                                 28,762.06




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

IVELIS TORRES
1553 W 32ND STREET
ERIE, PA 16508

REBEKA A SEELINGER ESQ
4640 WOLF RD
ERIE, PA 16505

QUICKEN LOANS LLC
635 WOODWARD AVE
DETROIT, MI 48226

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




6/5/24                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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